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 5                   IN THE UNITED STATES DISTRICT COURT FOR THE

 6                            EASTERN DISTRICT OF CALIFORNIA

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 8
     UNITED STATES OF AMERICA,     )         1:07-cr-0150 AWI
 9                                 )
               Plaintiff,          )
10                                 )         PROPOSED ORDER FOR DESTRUCTION OF
               v.                  )         BULK MARIJUANA SEIZURE
11                                 )
     FIDEL RAMON CASTRO, et al., )
12                                 )
               Defendants.         )
13                                 )
     _____________________________ )
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16            Having considered the government’s application for an order

17   permitting its agents to destroy bulk marijuana seized in this

18   matter pursuant to a duly authorized search warrant and designated

19   DEA Exhibit 11, along with the arguments of counsel, and good

20   cause appearing therefor,

21            IT IS HEREBY ORDERED that the DEA and other investigative

22   agencies involved in the investigation of this matter are

23   authorized to destroy DEA Exhibit #11, the bulk marijuana plants

24   seized in this case.         The DEA is, however, ordered to preserve the

25   other drug exhibits seized in this case.

26   IT IS SO ORDERED.

27   Dated:     August 31, 2007                /s/ Anthony W. Ishii
     0m8i78                              UNITED STATES DISTRICT JUDGE
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